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                EXHIBIT 6
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                                             BRIEFING ROOM



    Second Letter from Dana A. Remus, Counsel to the
President, to David Ferriero, Archivist of the United States,
                   dated October 8, 2021
                             OCTOBER 13, 2021 • STATEMENTS AND RELEASES




                                         October 8, 2021

David Ferriero
Archivist of the United States
National Archives and Records Administration 700 Pennsylvania Ave., N.W.
Washington, D.C., 20408

Dear Mr. Ferriero,

I write in response to your communication of October 8, 2021, informing us that former
President Trump has asserted executive privilege with regard to a subset of documents
requested by the House Select Committee to Investigate the January 6th Attack on the United
States Capitol, and requesting President Biden’s views. President Biden has considered the
former President’s assertion, and I have engaged in additional consultations with the Office of
Legal Counsel at the Department of Justice. For the same reasons described in my earlier letter,
the President maintains his conclusion that an assertion of executive privilege is not in the best
interests of the United States, and therefore is not justified as to any of the documents provided
to the White House on September 8, 2021. Accordingly, President Biden does not uphold the
former President’s assertion of privilege.

The President instructs you, in accord with Section 4(b) of Executive Order 13489, to provide
the pages identified as privileged by the former President to the Select Committee. In light of
the urgency of the Select Committee’s need for the information, the President further instructs
you to provide those pages 30 days after your notification to the former President, absent any
intervening court order.


                                                                          Sincerely,

                                                                          Dana A. Remus Counsel to
                                                                          the President
